              Case 3:19-mj-04908-AHG Document 1 Filed 11/05/19 PageID.1 Page 1 of 15
AO 106 (Rev. 04/10) Application for a Search Warrant



                                      UNITED STATES DISTRICT COUR
                                                                     for the                                             NOV - 5 2019
                                                         Southern District of California
                                                                                                             CU.: FH\ ui:, u1s·1 HICT cnuRT
                                                                                                          SOUTHrnN DIST HICT cir CALIFORNIA
                 In the Matter of the Search of                         )                                 BY                             DEPUTY
         (Briefly describe the property to be searched                  )
          or identify the person by name and address)                   )            Case No.
   Alcatel Cellular Phone, Model No. 5049Z, !MEI
0149400005548533 more particularly described in A-1
                                                                        )
                                                                        )
                                                                        )
                                                                                           19MJ4908
                                             APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

 SEE ATTACHMENT A-1
located in the             Southern
                     --------
                                                  District of   ------------
                                                                            California          , there is now concealed (identify the
person or describe the property to be seized):

 SEE ATTACHMENT B

             The basis for the search under Fed. R. Crim. P. 4 l(c) is (check one or more):
                  !'/ evidence of a crime;
                   0 contraband, fruits of crime, or other items illegally possessed;
                   0 property designed for use, intended for use, or used in committing a crime;
                   0 a person to be arrested or a person who is unlawfully restrained.

             The search is related to a violation of:
                 Code Section                                                    Offense Description
        21   u.s.c. §§ 952, 960, 963               Importation of Controlled Substances; Conspiracy lo Import Controlled
                                                   Substances

             The application is based on these facts:
        SEE AFFIDAVIT

             i    Continued on the attached sheet.
             O Delayed notice of _ _ days (give exact ending date if more,,.,"'~'~
               under 18 U.S.C. § 3103a, the basis of which is set forth on th                                               ,




                                                                                                Printed npme and title

Sworn to before me and signed in my presence.


Date:
                                                                                b-                Judge's signature

City and state: San Diego, CA                                                  Honorable Allison H. Goddard, U.S. Magistl'ale Judge
                                                                                                Prfnted name and title
        Case 3:19-mj-04908-AHG Document 1 Filed 11/05/19 PageID.2 Page 2 of 15



 1                 AFFIDAVIT IN SUPPORT OF SEARCH WARRANT
2          I, Vincenzo L. Zoni, having been duly sworn, do hereby state that the following is
 3 true to my knowledge and belief:
4                                       INTRODUCTION
 5         1.    I make this affidavit in support of an application for a warrant to search the
 6 following electronic devices, as further described in Attachments A-1 through A-4
 7 (collectively the "Target Devices"), and seize evidence of violations of federal law,
 8 namely
 9   21 U.S.C. §§ 952, 960, and 963, as further described in Attachment B:
10                     Alcatel Cellular Phone
                       Model No. 5049Z
11                     IMEI0149400005548533
12                     ("Target Device 1")
13                     Samsung Tablet
                       Model No. SMT330NU
14                     Serial No. R52G20J9ZP
15                     ("Target Device 2")
16                      LG Cellular Phone
                        Model No. Q710AL
17
                        MEID No. 089466522504350072
18                      ("Target Device 3")
19                      ZTE Cellular Phone
                        Serial No. 320484440869
20
                        IMEI990008941610417
21                      ("Target Device 4")
22 This search supports an investigation and prosecution of Hector Martinez-Robos
23 ("MARTINEZ-ROBOS") and Rosa Isela Acuna ("ACUNA"), who are presently charged
24 with committing violations of21 U.S.C. §§ 952 and 960. A factual explanation supporting
25 probable cause follows.
26         2.    On or about April 8, 2019, I obtained authority to search these Target
27 Devices. See 19-MJ-1417 AGS (S.D. Cal. April 8, 2019). This warrant seeks authority to
28 review the Target Devices again, to fully ensure that investigators have seized all data
         Case 3:19-mj-04908-AHG Document 1 Filed 11/05/19 PageID.3 Page 3 of 15



 1 relevant to the case. That search can take advantage of any updates in software and
 2 hardware tools available to investigators, and investigators may use a "PIN" code that
 3 Acuna provided for Target Device 4 to conduct a more thorough search. Moreover, this
 4 warrant seeks authority for a broader range of time. Except as noted in Paragraphs 22 and
 5 23, the probable cause provided in this affidavit is the same as in my prior application.
 6           3.      Officers with the Department of Homeland Security, United States Customs
 7 and Border Protection ("CBP"), seized the Target Devices from MARTINEZ-ROBOS and
 8 ACUNA on January 7, 2019, when they were arrested at the San Ysidro, California, Port
 9 of Entry ("POE") for drug smuggling, in violation of 21 U.S.C. §§ 952 and 960. The
1O Target Devices are currently in the possession of the Department of Homeland Security
11 and is presently stored at 880 Front Street, Suite 3200, San Diego, California 92101.
12           4.      Based on the information below, there is probable cause to believe that
13 searches of the Target Devices will produce evidence of the aforementioned crimes, as
14 more particularly described in Attachment B.
15           5.      Because this affidavit is being submitted for the limited purpose of
16 establishing probable cause to obtain a search warrant, it does not contain all of the
17 information known to investigators about this investigation. It contains only those facts
18 believed to be necessary to establish probable cause. In addition, information contained in
19 this affidavit is based upon reviews of official reports and records, conversations with other
20 investigators experienced in the area of drug investigations, and my personal observations
21 and knowledge. When the contents of documents or statements of others are reported
22 herein, they are reported in substance and in part unless otherwise indicated.
23                                       TRAINING AND EXPERIENCE
24           6.      I am currently a Special Agent with the United States Department of
25 Homeland Security, Immigration and Customs Enforcement ("ICE"), Homeland Security
26 Investigations ("HSI") formerly known as the ICE Office of Investigations ("ICE-OI"). I
27 have been employed by ICE OI / HSI as a Special Agent since the agency was first created
28 on March 1, 2003. From 2002 to 2003, I was a Special Agent with a predecessor agency,
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     Affidavit in Support ofSearch Warrant
        Case 3:19-mj-04908-AHG Document 1 Filed 11/05/19 PageID.4 Page 4 of 15



 1 the Immigration and Naturalization Service. Prior to becoming a Special Agent, I served
2 as Border Patrol Agent with the United States Border Patrol, from 1995 to 2002.
3           7.      As a Special Agent for HSI, I am responsible for investigating laws
4 enumerated in Title 8, Title 18, and Title 21 of the United States Code. Included in my
 5 responsibilities is the investigation of illicit contraband-smuggling, including narcotics-
 6 smuggling, across the United States border.
 7          8.      I have completed the USBP Basic Training Course at the Federal Law
 8 Enforcement Training Center located in Glynco, Georgia, as well as other follow-up
 9 courses required by ICE.
1O         .9.       Since June of 2016, I have been assigned to the HSI Special Agent in Charge
11 - Investigative Services Group as a liaison between HSI and the United States Attorney's
12 Office for the Southern District of California.
13          10.      Prior to my current assignment, I was assigned to the Deputy Special Agent
14 in Charge San Ysidro, located in San Ysidro, California. My specific assignment was to
15 the Narcotics Response Group. During my tenure, my duties included investigating the
16   illicit trafficking of controlled substances into the United States. During my assignment to
17 the Narcotics Response Group, I participated in the investigation of various drug-
18 trafficking organizations involved in the acquisition, importation, transportation, and
19 distribution of controlled substances into and through the Southern District of
20 California. Because the nature of my ongoing work requires me to keep apprised of recent
21 trends and developments involved in the investigations of drug traffickers, I regularly
22 communicate with agents from the Drug Enforcement Administration, Customs and
23 Border Protection ("CBP"), and other local and state law enforcement officers operating
24 within the Southern District of California.
25           11.     Through the course of my training, investigations and conversations with
26 other law enforcement personnel, I am aware that it is a common practice for narcotics
27 smugglers to work in concert with other individuals and to do so by utilizing cellular
28 telephones, and tablets, to maintain communications with co-conspirators in order to
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     Affidwit in Support ofSearch Warrant
        Case 3:19-mj-04908-AHG Document 1 Filed 11/05/19 PageID.5 Page 5 of 15



 1 further their criminal activities. Conspiracies involving narcotics smuggling generate many
 2 types of evidence including, but not limited to, evidence such as voicemail messages
 3 referring to the arrangements of travel and payment, names, photographs, text messages,
 4 emails, instant messages, social networking messages, maps and directions, and phone
 5 numbers of co-conspirators.
 6           12.     In the course of my duties, I have been a case agent directing drug-related
 7 investigations. I have participated in many aspects of criminal investigations including
 8 reviewing evidence, conducting physical and electronic surveillance, and executing search
 9 and arrest warrants. I have interviewed defendants and witnesses while conducting various
1O investigations. I have gained a working knowledge and insight into the normal operational
11 habits of narcotics traffickers, with particular emphasis on those who attempt to import
12 narcotics into the United States from Mexico at the San Diego international ports of entry.
13           13.     Based upon my training and experience as an HSI Special Agent, and my
14 consultations with law enforcement officers experienced in narcotics trafficking
15 investigations, and all the facts and opinions set forth in this affidavit, I further submit the
16 following:
17                   a.       Drug smugglers use cellular telephones because the devices are mobile
18   and provide instant access to telephone calls, texts, internet, application-based
19 communications platforms (e.g., WhatsApp ), and voice messages;
20                   b.       Drug smugglers use cellular telephones because they are able to
21 actively monitor the progress of the illegal cargo while the conveyance is in transit;
22                   C.       Drug smugglers and their accomplices use cellular telephones because
23 the phones help them arrange for the delivery of cargo at predetermined locations and
24 monitor I plan for arrival times;
25                   d.       Drug smugglers use cellular telephon~s to direct couriers to
26 synchronize drop off and pick up times of the illegal cargo;
27                   e.       Drug smugglers use cellular telephones to notify or warn accomplices
28 about law-enforcement activity, such as the presence and.posture of marked and perceived
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     Affidavit in Support a/Search Warrant
        Case 3:19-mj-04908-AHG Document 1 Filed 11/05/19 PageID.6 Page 6 of 15



1 unmarked patrol vehicles, or the operational status of border checkpoints and border
2 crossings; and
3                   f.       The use of cellular telephones by smugglers tends to generate evidence
4 stored on the cellular telephones, including but not limited to emails, text messages,
5 application-based communications, photographs, audio files, call logs, address book
6 entries, IP addresses, social network data, and location data.
7           14.     Subscriber Identity Module ("SIM") Cards, also known as subscriber identity
8 modules, are smart cards that store data for cellular telephone subscribers. Such data
 9 includes user identity, location and phone number, network authorization data, personal
1O security keys, contact lists and stored text messages. Much of the evidence generated by a
11 smuggler's use of a cellular telephone would likely be stored on any SIM Card that has
12 been utilized in connection with that telephone.
13          15.      Tablets, which are also mobile devices, have many, if not all, of the same
14 features as cellular telephones, and so are attractive to drug-trafficking organizations for
15 the same reasons that cellular telephones are. Tablets too are mobile and provide instant
16 access to texts, internet, application-based communications platforms (e.g., WhatsApp),
17 and, for many models, telephone calls and voice messages.
18                            FACTS IN SUPPORT OF PROBABLE CAUSE

19       16. According to a report prepared by CBP Officer Manis, at about 9:30 p.m. on
20 January 7, 2019, Officer Manis was conducting inspections in the pre-primary inspection
21 area at the San Ysidro POE with a K-9 Unit. At that time, the K-9 Unit alerted to the spare
22 tire of a grey Kia Sorento bearing California license plate 6TCL582. Officer Manis
23 informed fellow CBP Officer Garcia of the alert.
24           17.     Per Officer Garcia's report, Officer Garcia came over to the Kia Sorento and
25 inspected the spare tire, which was located under the vehicle. Officer Garcia felt the tire,
26 which felt solid. Officer Garcia then approached the driver, MARTINEZ-ROBOS, who
27 said that he was going to Los Angeles with his passenger, ACUNA, and ACUNA's child
28 (who was also in the car). MARTINEZ-ROBOS told Officer Garcia that he was coming
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     Affidavit in Support ofSearch Warrant
         Case 3:19-mj-04908-AHG Document 1 Filed 11/05/19 PageID.7 Page 7 of 15



 1 from Tijuana, and he twice said that he had nothing to declare. At this point, Officer Garcia
 2 had MARTINEZ-ROBOS get out of the car; he handcuffed MARTINEZ-ROBOS and
 3 escorted him to the security office. (The reports prepared by the CBP Officers does not
 4 state what ACUNA and her child did at this point, but I am aware from my own training
 5 and experience that when a vehicle is sent to secondary inspection, CBP Officers will first
 6 remove the occupants and have them wait in an area like the security office at the Port of
 7 Entry.)
 8           18.     The Kia Sorrento was sent to secondary inspection and scanned through the
 9   "Z-Portal" X-Ray Machine. Per the report of CBP Officer Santos, the scans showed
10 anomalies in the spare tire and in the rear quarter panels of the vehicle.
11           19.     Per CBP Officer Nicklen's report, Officer Nicklen then removed a package
12 from the rear passenger-side quarter panel of the Kia Sorento; the contents of the package
13 field-tested as positive for cocaine. In total, Officer Nicklen recovered four packages from
14 the quarter panel and 21 from the spare tire; the 25 total packages had a gross weight of
15 28.68 kilograms.
16           20.     Per his report, after discovering the first package in the rear passenger-side
17 quarter panel, Officer Nicklen placed MARTINEZ-ROBOS and ACUNA under arrest for
18 the importation of controlled substances. Officer Nicklen also seized the Kia Sorento and
19 the cocaine. Shortly thereafter, I seized the personal effects belonging to MARTINEZ-
20 ROBOS and ACUNA, including the Target Devices. Specifically, Target Devices 1 and
21 2 were seized from MARTINEZ-ROBOS, and Target Devices 3 and 4 were seized from
22 ACUNA.
23           21.     Following their arrests, both MARTINEZ-ROBOS and ACUNA received
24 their Miranda rights from HSI Special Agent Raul Rodriguez. Per Special Agent
25 Rodriguez's report, both MARTINEZ-ROBOS and ACUNA claimed not to know about
26 the presence of cocaine in the Kia Sorento.
27           22.     I note that in the post-arrest interview, ACUNA provided a "PIN" code for
28 Target Device 3. Investigators did not make use of that PIN code when attempting their
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     Affidavit in Support ofSearch Warrant
         Case 3:19-mj-04908-AHG Document 1 Filed 11/05/19 PageID.8 Page 8 of 15



 1 first search, and intend now to use the PIN code to obtain a better download of the device.
 2           23.     I am also aware of added information tending to support probable cause,
 3 gathered in the course of this investigation. Photographs found on Target Device 4 tend to
 4 show that ACUNA and MARTINEZ-ROBOS were working together to bring drugs into
 5 the United States; those photos, which are on Acuna's phone, are of (i) the Kia Sorento,
 6 (ii) the rear storage area, (iii) a man standing next to the storage area with his hand on a
 7 spare tire, which investigators believe is MARTINEZ-ROBOS, (iv) various pictures of
 8 tires, (v) MARTINEZ-ROBOS and ACUNA together in an intimate pose, and (vi) pictures
 9 of bulk quantities that, based on my training and experience, are consistent with
1O methamphetamine and cocaine. And, a review of crossing records shows that ACUNA and
11 MARTINEZ-ROBOS crossed the border together on several occasions in December 2018,
12 before getting arrested in January 2019 in this case.
13           24.     Based upon my experience investigating drug smuggling, my training, and my
14 consultation with other investigators who have experience investigating drug smuggling in
15 near the border, I understand that drug smugglers will seek to smuggle drugs from Mexico
16 to the United States by hiding the drugs in hidden compartments of cars, and in non-factory
17 compartments (i.e., compartments that the manufacturer did not design for ordinary use).
18 Smugglers will then drive north from Mexico and seek to pass through POEs with the drugs
19 undetected. (I am also aware that such individuals will sometimes try to generate a history
20 of crossings to show that driving through a POE is ordinary behavior for them.) When they
21 arrive in the United States, smugglers will take the drugs to a discreet location to transfer
22 them to other people involved in the distribution chain, who can then send the drugs to
23 other locations for downstream distribution.
24           25.     Given the facts surrounding the arrests ofMARTINEZ-ROBOS and ACUNA,
25 and based upon my experience and training, as well as consultation with other law
26 enforcement officers experienced in drug smuggling investigations, I submit that there is
27 probable cause to believe that information relevant to the smuggling activities of
28 MARTINEZ-ROBOS and ACUNA will be found in the Target Devices. Such evidence,
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     Affidavit in Support ofSearch Warrant
         Case 3:19-mj-04908-AHG Document 1 Filed 11/05/19 PageID.9 Page 9 of 15



 1 which could be in the form of communications, records, data (including but not limited to
 2 emails, text messages, other social messaging applications), photographs, audio files,
 3 videos, or location data:
 4                    a.      tending to indicate efforts to import cocaine or some other federally
 5 controlled substance from Mexico into the United States;
 6                    b.      tending to identify accounts, facilities, storage devices, and/or
 7 services-such as email addresses, IP addresses, and phone numbers-used to facilitate the
 8 importation of cocaine or some other federally controlled substance from Mexico into the
 9 United States;
10                    C.      tending to identify co-conspirators, criminal associates, or others
11 involved in importation of cocaine or some other federally controlled substance from
12 Mexico into the United States;
13                    d.      tending to identify travel to or presence at locations involved in the
14 importation of cocaine or some other federally controlled substance from Mexico into the
15 United States;
16                    e.      tending to identify the movement of proceeds associated with the
17 trafficking of cocaine or some other federally controlled substance that was imported from
18 Mexico into the United States;
19                    f.      tending to identify the user of, or persons with control over or access
20 to, the Target Devices; and/or
21                    g.      tending to place in context, identify the creator or recipient of, or
22 establish the time of creation or receipt of communications, records, or data involved in the
23 activities described above.
24           26.      Finally, I note that drug conspiracies generally entail detailed and intricate
25 planning as part of efforts to evade detection by law enforcement. In my professional
26 training and experience, I am aware that this requires planning and coordination in the days
27 and weeks (and often months) prior to the relevant drug-related event. Additionally, I am
28 aware that co-conspirators are often unaware of a subject's arrest and will continue to
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     Affidavit in Support of Search Warrant
       Case 3:19-mj-04908-AHG Document 1 Filed 11/05/19 PageID.10 Page 10 of 15



 1 attempt to communicate with the subject after the arrest to determine the whereabouts of
 2 their valuable cargo, particularly in the hours following the arrest.         In light of this
 3 understanding and the information provided in this affidavit, including the new information
 4 provided in Paragraph 23, I believe seek authority to review the devices without a limiting
 5 date range.
 6                                           METHODOLOGY
 7           27.     It is not possible to determine, merely by knowing a cellular telephone's or
 8 tablet's make, model and serial number, the nature and types of services to which the
 9 devices are subscribed and the nature of the data stored on the devices. Cellular devices
1O today can be simple cellular telephones and text message devices, can iilclude cameras, can
11 serve as personal digital assistants and have functions such as calendars and full address
12 books and can be mini-computers allowing for electronic mail services, web services and
13 rudimentary word processing. An increasing number of cellular service providers now allow
14 for their subscribers to access their devices-both phones and tablets-over the internet and
15 remotely destroy all of the data contained on the devices. For that reason, the devices may
16 only be powered in a secure environment or, if possible, started in "flight mode" which
17 disables access to the network. Unlike typical computers, many cellular telephones and
18 tablets do not have hard drives or hard-drive equivalents and store information in volatile
19 memory within the devices or in memory cards inserted into the devices. Current technology
20 provides some solutions for acquiring some of the data stored in some cellular telephone
21 models, and some tablets, using forensic hardware and software. Even if some of the stored
22 information on the devices may be acquired forensically, not all of the data subject to seizure
23 may be so acquired. For devices that are not subject to forensic data acquisition or that have
24 potentially relevant data stored that is not subject to such acquisition, the examiner must
25 inspect the device manually and record the process and the results using digital
26 photography. This process is time and labor intensive and may take weeks or longer.
27           28.     Following the issuance of this warrant, I will collect the Target Devices and
28 subject them to analysis. All forensic analysis of the data contained within the Target
                                                   9
     Affidavit in Support ofSearch Warrant
       Case 3:19-mj-04908-AHG Document 1 Filed 11/05/19 PageID.11 Page 11 of 15



 1 Devices and any associated memory cards will employ search protocols directed
 2 exclusively to the identification and extraction of data within the scope of this warrant.
 3           29.     Based on the foregoing, identifying and extracting data subject to seizure
 4 pursuant to these warrants may require a range of data analysis techniques, including
 5 manual review, and, consequently, may take weeks or months. The personnel conducting
 6 the identification and extraction of data will complete the analysis within ninety (90) days,
 7 absent further application to this court.
 8                         PRIOR ATTEMPTS TO OBTAIN THIS EVIDENCE
 9           30.     Law enforcement has attempted to obtain the evidence sought, pursuant to
1O warrants authorized by this Court.
11                                           CONCLUSION
12           31.     Based on all of the facts and circumstances described above, I believe probable
13 cause exists to conclude that MARTINEZ-ROBOS and ACUNA used the Target Devices
14 to facilitate the offense of drug smuggling and to communicate with co-conspirators. The
15 Target Devices were likely used to facilitate the offense by transmitting and storing data,
16 which constitutes evidence of violations of Title 21, United States Code, Sections 952,960,
17 and 963.
18           32.     Because the Target Devices were promptly seized following the arrests of
19 MARTINEZ-ROBOS and ACUNA at the San Ysidro POE, there is probable cause to
20 believe that evidence of the smuggling offense committed by them continues to exist on the
21 Target Devices. As stated above, I believe that the date range for this search is from
22 November 7, 2018, up to and including January 8, 2018.
23           33.     WHEREFORE, I request that the court issue a warrant authorizing HSI Special
24 Agents and/or other federal and state law enforcement officers specially trained in digital
25 evidence recovery, to search the Target Devices, as described in Attachments Al through
26 I I I
27 I I I
28 I I I
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     Affidavit in Support a/Search Warrant
       Case 3:19-mj-04908-AHG Document 1 Filed 11/05/19 PageID.12 Page 12 of 15



 1 A-4, and seize the items listed in Attachment B, using the method ogy described above.
 2                                                                          owledge and belief.
 3
 4
 5
                                                  Homeland Security I estigations Special Agent
 6
                                                  Department of Home and Security
 7
   Subscribed and sworn to before me on
 8 this       5/b
               day of November, 2019.
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10 THE HON. ALLISON H. GODDARD
11 United States Magistrate Judge

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     Affidavit in Support ofSearch Warrant
       Case 3:19-mj-04908-AHG Document 1 Filed 11/05/19 PageID.13 Page 13 of 15



 1                                           Attachment A-1
 2                                           Item to be Searched
 3 The item to be searched is as follows:
 4                            Alcatel Cellular Phone
                              Model No. 5049Z
 5                            IMEI0149400005548533
 6                            ("Target Device 1")
 7           Target Device 1 is currently in the possession of the Department of Homeland
 8 Security and are presently stored at 880 Front Street, Suite 3200, San Diego, CA 92101.
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     Affidavit in Support ofSearch Warrant
      Case 3:19-mj-04908-AHG Document 1 Filed 11/05/19 PageID.14 Page 14 of 15



 1                                     Attachment B
 2                                    Items to be Seized
 3         Authorization to search the cellular/mobile telephones and tablet described in
 4 Attachment A (the "Target Devices") includes the search of disks, memory cards, deleted
 5 data, remnant data, slack space, and temporary or permanent files contained on or in the
 6 cellular/mobile telephones and tablet for evidence described below. The seizure and search
 7 of the cellular/mobile telephones and tablet shall follow the search methodology described
 8 in the affidavit submitted in support of the warrant.
 9         The evidence to be seized from the cellular/mobile telephones and tablet will be
1O electronic records, communications, and data such as emails, text messages, chats and chat
11 logs from various third-party applications, photographs, audio files, videos, and location
12 data:
13               a.    tending to indicate efforts to import cocaine or some other federally
14 controlled substance from Mexico into the United States;
15               b.    tending to identify accounts, facilities, storage devices, and/or
16 services-such as email addresses, IP addresses, and phone numbers-used to facilitate the
17 importation of cocaine or some other federally controlled substance from Mexico into the
18 United States;
19               c.    tending to identify co-conspirators, criminal associates, or others
20 involved in importation of cocaine or some other federally controlled substance from
21 Mexico into the United States;
22               d.    tending to identify travel to or presence at locations involved in the
23 importation of cocaine or some other federally controlled substance from Mexico into the
24 United States;
25               e.    tending to identify the movement of proceeds associated with the
26 trafficking of cocaine or some other federally controlled substance that was imported from
27 Mexico into the United States;
28
       Case 3:19-mj-04908-AHG Document 1 Filed 11/05/19 PageID.15 Page 15 of 15



 1                   f.      tending to identify the user of, or persons with control over or access to,
2 the Target Devices; and/or
3                    g.      tending to place in context, identify the creator or recipient of, or
4 establish the time of creation or receipt of communications, records, or data involved in the
 5 activities described above,
 6 which are evidence of violations of Title 21, United States Code, Sections 952,960, and 963.
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     Affidavit in Support ofSearch Warrant
